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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 GARDEN STATE ISLAMIC CENTER,                      :     Hon. Joseph H. Rodriguez
                                                   :
               Plaintiff,                          :      Civil Action No. 17-1209
                                                   :
        v.                                         :
                                                   :            OPINION
 CITY OF VINELAND, DALE JONES, GARY                :
 LUGIANO, CARMEN DI GIORGIO, and                   :
 JOHN and JANE DOES 1-20,                          :
                                                   :
               Defendants.                         :


        This matter comes before the Court on Motion to Dismiss of Defendants Carmen

 Di Giorgio, Dale Jones, Gary Lugiano, and City of Vineland pursuant to Fed. R. Civ. P. 12

 (b)(6). The United States of America filed a Statement of Interest on September 5, 2017.

 The Court granted the parties’ request to adjourn the motion and set a briefing schedule.

 Oral argument was heard on March 14, 2018. For the reasons stated on the record that

 day, as well as those set forth below, Defendants’ motion is denied.

                                        I.     Background

        Garden State Islamic Center brings a claim against Defendants arising out of its

 construction of a mosque in Vineland, New Jersey. Garden State Islamic Center

 (“GSIC”) is a New Jersey, not for profit, 501(c)(3) tax exempt corporation, whose

 primary purpose is to receive, administer, invest and distribute funds for scientific,

 educational and charitable purposes. The Complaint alleges that the Defendants

 engaged in unlawful discriminatory practices to frustrate GSIC’s ability to exist through

 a series of predatory actions which continued from the approval of the construction of

 the GSIC building and mosque through GSIC’s present day existence in a manner which


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 impedes GSIC’s ability to serve its community and diminishes the use of the building.

 The Complaint sets forth, in detail, the nature of the actions taken, which include

 withholding permit approvals and a final certificate of occupancy in addition to

 assessing tax liens against GSIC, despite its exemption as a religious institution.

        The City’s continued denial of the Certificate of Occupancy is allegedly related to

 GSIC exceeding the output contemplated by the septic system permit. In general terms,

 the septic system permit was granted based upon the information included in the initial

 plans submitted. Once GSIC was built, the City inspected GSIC and claims it discovered

 that the building contained additional uses that were not previously identified in the

 approved original plans. The additional uses in the new plan and re-design of GSIC

 caused the contemplated water flow values to increase to a point where the combined

 flow mandated New Jersey Department of Environmental Protection scrutiny. In other

 words, because of the allegedly altered design and the City’s determination that the re-

 design increased the output of the septic-system, the City declared that it could not issue

 a Certificate of Occupancy until GSIC could secure a “flow determination” from the

 NJDEP’s Bureau of Non-Point Pollution Control.

        Currently GSIC is operating in a limited manner under the authority of a

 temporary certificate of occupancy and the Defendants have not moved to collect the

 assessment of taxes, but the tax bill remains due. Plaintiffs allege violations of the

 Religious Land Use and Institutionalized Persons Act of 2000 (“RLUIPA”), 42 U.S.C. §

 1983, the New Jersey Civil Rights Act and the New Jersey Law Against Discrimination.

 Plaintiffs bring claims under the Religious Land Use and Institutionalized Persons Act

 of 2000 (“RLUIPA”), 42 U.S.C. §§ 2000cc et seq. (Counts I, II), and related claims

 under 42 U.S.C. § 1983 for violations of the First and Fourteenth Amendments (Counts

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 IV, VI). Of the many issues raised by the City in favor of dismissal, the principal issue to

 be decided is whether this matter is ripe for adjudication in light of the City’s contention

 that GSIC has not exhausted its administrative remedy with the New Jersey Department

 of Environmental Protection (“NJDEP”).

                                    II.     Standards of Review

        A. Federal Rule of Civil Procedure 12 (b) (6)

        Under Rule 12(b)(6), a complaint may be dismissed for “failure to state a claim

 upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). When reviewing a motion to

 dismiss on the pleadings, courts “accept all factual allegations as true, construe the

 complaint in the light most favorable to the plaintiff, and determine whether, under any

 reasonable reading of the complaint, the plaintiff may be entitled to relief.” Phillips v.

 Cnty. of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008) (quotations omitted). Under such a

 standard, the factual allegations set forth in a complaint “must be enough to raise a right

 to relief above the speculative level.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555

 (2007). Indeed, “the tenet that a court must accept as true all of the allegations

 contained in a complaint is inapplicable to legal conclusions.” Ashcroft v. Iqbal, 556 U.S.

 662, 678 (2009). “[A] complaint must do more than allege the plaintiff's entitlement to

 relief. A complaint has to ‘show’ such an entitlement with its facts.” Fowler v. UPMC

 Shadyside, 578 F.3d 203, 211 (3d Cir. 2009).

        B. The Religious Land Use and Institutionalized Persons Act of 2000, 42 U.S.C.
           § 2000 cc et seq., “RLUIPA”
        Congress enacted RLUIPA “ ‘in order to provide very broad protection for

 religious liberty.’ ” Holt v. Hobbs, ––– U.S. ––––, 135 S. Ct. 853, 859, 190 L.Ed.2d 747

 (2015) (quoting Burwell v. Hobby Lobby Stores, Inc., –––U.S. ––––, 134 S. Ct. 2751,

 2760, 189 L.Ed.2d 675 (2014)). RLUIPA provides, in pertinent part:

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               No government shall impose or implement a land use regulation in
        a manner that imposes a substantial burden on the religious exercise of a
        person, including a religious assembly or institution, unless the
        government demonstrates that imposition of the burden on that person,
        assembly, or institution ... (A) is in furtherance of a compelling
        governmental interest; and (B) is the least restrictive means of furthering
        that compelling governmental interest.

 42 U.S.C. § 2000cc(a)(1).

        GSIC, as a plaintiff in a RLUIPA claim, “has the initial burden of demonstrating

 that the land use regulation ‘actually imposes a substantial burden on religious

 exercise.” Muslim Ctr. of Somerset Cty., Inc. v. Borough of Somerville Zoning Bd. of

 Adjustment, No. SOM-L-1313-04, 2006 WL 1344323, at *6 (N.J. Super. Ct. Law Div.

 May 16, 2006). Upon such a showing, the burden shifts to the City to show that the

 challenged regulation “is in furtherance of a compelling governmental interest” and “is

 the least restrictive means of furthering” that interest. Id.

        Although RLUIPA does not define “substantial burden,” several courts note that

 “[t]he goal of the substantial burden provision is to combat[ ] subtle forms of

 discrimination by land use authorities that may occur when a state delegates essentially

 standardless discretion to nonprofessionals operating without procedural safeguards.”

 Hunt Valley Baptist Church v. Baltimore County, Maryland, 2017 WL 4801542 at *24

 (quoting Chabad Lubavitch of Litchfield Cty., Inc. v. Litchfield Historic Dist. Comm'n,

 768 F.3d 183, 196 (2d Cir. 2014) (quoting Sts. Constantine & Helen Greek Orthodox

 Church, Inc. v. City of New Berlin, 396 F.3d 895, 900 (7th Cir. 2005)) (internal citations

 omitted)).

        The substantial burden claim “does not require a showing of discriminatory

 governmental conduct.” Andon, LLC v. City of Newport News, Va., 813 F.3d 510, 514

 (4th Cir. 2016); Bethel World Outreach Ministries v. Montgomery Cty. Council, 706

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 F.3d 548, 557 (4th Cir. 2013) (recognizing that substantial burden provision protects

 against both discriminatory and non-discriminatory conduct that imposes a substantial

 burden on religion). To state a substantial burden claim, a plaintiff “must show that a

 government's imposition of a regulation regarding land use, or application of such a

 regulation, caused a hardship that substantially affected the plaintiff's right of religious

 exercise.” Andon, 813 F.3d at 514; see also 146 Cong. Rec. S7, 774–01, 2000 WL

 1079346, at *S7777 (“It is important to note that RLUIPA does not provide a religious

 assembly with immunity from zoning regulation.”)

        Plaintiffs argue that “[i]nvidious motive is not a necessary element,” but rather

 “[a]ll you need is that the state actor meant to single out a plaintiff because of the

 protected characteristic itself.” (Id. at 15 (quoting Hassan v. City of New York, 804 F.3d

 277, 297 (3d Cir. 2015)).)

                The land-use provisions of RLUIPA are structured to create a clear
        divide between claims under section 2(a) (the Substantial Burdens
        section) and section 2(b) (the Discrimination and Exclusion section, of
        which the Equal Terms [P]rovision [and also the Nondiscrimination
        Provision are] a part). Since the Substantial Burden[s] section includes a
        strict scrutiny provision and the Discrimination and Exclusion section
        does not, we conclude this “disparate exclusion” was part of the intent of
        Congress and not an oversight.

 Id. (citing Russello v. United States, 464 U.S. 16, 23, 104 S. Ct. 296, 78 L. Ed.2d 17
 (1983)).

        RLUIPA's first section (“Substantial Burdens Provision”) prohibits land use

 regulations that substantially burden the exercise of religion unless the government

 action can survive a strict scrutiny analysis. 42 U.S.C. § 2000cc(a)(1)–(2); see also

 Lighthouse Inst. for Evangelism, Inc. v. City of Long Branch, 510 F.3d 253, 269 (3d Cir.

 2007) (“[T]he Substantial Burden[s] section includes a strict scrutiny provision.”). The

 second section of RLUIPA prohibits discrimination and impermissible exclusion on the

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 basis of religion by prohibiting three distinct types of regulations: (1) land use

 regulations that treat a “religious assembly or institution on less than equal terms with a

 nonreligious assembly or institution” (“Equal Terms Provision”); (2) land use

 regulations that “discriminate[ ] against any assembly or institution on the basis of

 religion or religious denomination” (“Nondiscrimination Provision”); and (3) land use

 regulations that “totally exclude[ ] religious assemblies from a jurisdiction,” or

 “unreasonably limit[ ] religious assemblies, institutions, or structures within a

 jurisdiction” (“Exclusions and Limits Provision”). 42 U.S.C. § 2000cc(b)(1)–(3).

 Plaintiffs' instant Motion, as to Count Three, arises under the Nondiscrimination

 Provision. Islamic Soc'y of Basking Ridge v. Twp. of Bernards, 226 F. Supp. 3d 320, 341

 (D.N.J. 2016).

                                           III.        Analysis

        The Court finds that Plaintiff has met its burden that this matter is ripe for

 adjudication. Plaintiff’s complaint alleges discrimination the form of the imposition of a

 land use regulation that imposes a substantial burden on GSIC’s religious exercise in

 violation RLUIPA, the New Jersey Law Against Discrimination, the New Jersey Civil

 Rights Act, the First and Fourteenth Amendments, New Jersey Constitution, and New

 Jersey’s Municipal Land Law. See Compl. Generally, Counts I-XI.

        A. Ripeness

        The Court first addresses the Defendants’ primary issue of whether the claims are

 ripe for consideration. This inquiry considers whether the “conflicting contentions of the

 parties ... present a real, substantial controversy between parties having adverse legal

 interests, a dispute definite and concrete, not hypothetical or abstract.” Railway Mail

 Ass'n v. Corsi, 326 U.S. 88, 93, 65 S. Ct. 1483, 1487, 89 L. Ed. 2072 (1945). Whether a

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 case is ripe for justiciability is a prerequisite to the court’s exercise of jurisdiction. Nextel

 Communications of the Mid–Atlantic, Inc. v. City of Margate, 305 F.3d 188, 192 (3d Cir.

 2002).

          “The function of the ripeness doctrine is to determine whether a party has

 brought an action prematurely, and counsels’ abstention until such time as a dispute is

 sufficiently concrete to satisfy the constitutional and prudential requirements of the

 doctrine.” Peachlum v. City of York, Pennsylvania, 333 F.3d 429, 433 (3d Cir. 2003)

 (citations omitted). “The ripeness doctrine prevents judicial interference until an

 administrative decision has been formalized and its effects felt in a concrete way by the

 challenging parties.” Lauderbaugh v. Hopewell Twp., 319 F.3d 568, 575 (3d Cir. 2003).

          Plaintiff bears the burden of establishing that a matter is ripe for adjudication by

 showing a specific present objective harm or the threat of specific future harm. Laird v.

 Tatum, 408 U.S. 1, 14 (1972). “A claim is not ripe for adjudication if it rests upon

 contingent future events that may not occur as anticipated, or indeed may not occur at

 all.” Texas v. United State, 523 U.S. 296, 300 (1998) (internal citations omitted). Here,

 Plaintiff must show that it has suffered an ‘injury in fact’—an invasion of a legally

 protected interest which is (a) concrete and particularized and (b) actual or imminent,

 not conjectural or hypothetical.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560

 (1992) (internal citations omitted).

          The ripeness argument here is intertwined with the Court’s consideration of the

 cognizability of Plaintiffs’ claims under RLUIPA. The claims are ripe because the Court

 concludes that the sewage permitting issue, as plead, makes out a claim that the permit

 “issue” is really a pre-text for discrimination. The fact that a final decision on the merits

 of the water flow and sewage permit has not been made because the matter has been

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 referred for determination by the EPA does not render the discriminatory use of that

 process by the City unripe. To the contrary, the issuance of a final decision being held in

 abeyance is the very essence of the claim: that the invocation of the process was done

 with intent to frustrate GSIC’s existence.

        In a factually similar case, Cnty. of Culpeper, Virginia, 245 F. Supp. 3d at 764–65,

 the district court considered the ripeness of a claim under RLUIPA where the Islamic

 Center of Culpeper’s (ICC) attempt to build a mosque was frustrated by a permitting

 process. There, the town board had yet to issue a final decision on the permit

 application on grounds that the permit application was “insufficient[.]” United States v.

 Cty. of Culpeper, Virginia, 245 F. Supp. 3d 758, 764–65 (W.D. Va. 2017). The board

 further alleged that the deficiencies in the application made it “incumbent upon the ICC

 to resubmit an application (or explore some other method) rather than sue.” Id. The

 Court disagreed holding that the claims were ripe despite the lack of a final decision in

 the actual permit application because it was the disparate use of the application process

 that formed the basis for the RLUIPA claim.

        In addition, the County’s argument was deemed specious in light of the fact that

 it had previously stated on the record that the ICC's application did satisfy all state and

 local requirements. The court further noted as compelling “the low showing required

 for permit approval in the past; the historically high approval rate, including to other

 commercial and religious entities; the atypical delay in considering the ICC's initial

 application; the statements by County officials that the ICC's application received

 heightened scrutiny; the County Administrator's prepared remarks that the ICC's

 application satisfied state law and local practice, and; anti–Muslim comments and

 pressure directed at Board members before their vote.” Id. at 765-66.

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        The district court concluded that the matter was ripe because the process

 impacted ICC’s ability to build a mosque and/or caused “significant delay and added

 expense to that effort, either of which flowed from a purportedly discriminatory decision

 that substantially burdens the ICC's religious exercise.” Id. “A reasonable fact-finder

 could conclude that the denial was not based on an insufficient application or other

 good-faith reasons, but rather on anti–Muslim prejudice that would not evaporate

 simply by resubmitting a new application.” Id. at 765 (citing Moore–King v. Cty. of

 Chesterfield, Va., 819 F.Supp.2d 604, 615–17 (E.D. Va. 2011) (explaining that

 Williamson County did not apply when facts indicated what would occur if plaintiff

 pursued additional procedures), aff'd, 708 F.3d 560 (4th Cir. 2013); Bikur Cholim, Inc.

 v. Vill. of Suffern, 664 F.Supp.2d 267, 274–75 (S.D.N.Y. 2009) (holding that RLUIPA

 claimant need not avail itself of additional procedures if they would be “futile” and that

 court need only locate “a final, definitive position from a local authority” for ripeness)).

        GSIC’s Complaint sets forth an almost identical predicament as that faced by ICC

 in Culpeper. In support of its ripeness argument, GSIC proffers as follows:

               1. No other secular or religious group has had these requirements
        imposed upon them by Vineland.
               2. No other secular or religious group has had these water flow
        calculations imposed upon them as Vineland has imposed on GSIC.
               3. No other secular or religious group has had their pre-approved
        septic permit unilaterally rescinded after it was issued and after
        construction was complete without any due process.
               4. No other secular or religious group has had their certificate of
        occupancy withheld in this fashion.
               5. The water flow calculation requirements imposed by the
        Defendants is a novel way to use a land use regulation to unlawfully deny
        GSIC its lawful existence on the land.
               6. In essence, Vineland was using false information and
        discriminatory
               7. Indeed, a similarly situated Christian Church was not subject to
        the same requirements, and in fact, received more favorable treatment.

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                8. Upon information and belief, the Cumberland County Department
        of Health has within the last 18 months approved a septic system for the “All
        The Nations Assembly Church of God”, located at 659 Landis Avenue in
        Deerfield Township, Cumberland County, which is a substantially larger
        facility than GSIC’s house of worship/religious education building that can
        seat 470 people, also contains classrooms, a nursery, offices and has an area
        identified as a “future kitchen” as indicated on the approved building plans
        for that church.
                9. This Church based its septic flows on a calculation of 3 gallons
        per day, which calculation was accepted by the Cumberland County
        Department of Health and this Church was thus not required to obtain a
        NJPDES Permit and a septic permit was issued locally by the County.
                10. This Church also has a full time nursery and daycare, kitchen,
        Sunday school, kitchen, and 500 members, but was still adjudicated to
        have less than 2,000 gallons per day waste and permitted to use a septic
        system without State involvement or waste management systems.
                11.    GSIC, on the other hand, with less than half as many
        occupants, no daily school or nursery, and a Sunday school attended by a
        handful of children, a simple warming kitchen, was determined by the
        Defendants have a water usage of over 3,000 gallons per day, requiring
        State involvement, a waste management plan and treatment facility.

 See Compl., ¶¶ 104-110.

                  For these reasons, GSIC claims that the Defendants’ actions are

 discriminatory in nature and are intended to prevent the GSIC from permanently

 opening and operating its house of worship/religious education building through the

 discriminatory application of land use regulations, in violation of the Religious Land

 Use and Institutionalized Persons Act of 2000, 42 U.S.C. 2000cc, et seq. (“RLUIPA”)

 and the Constitutions of the United States and New Jersey. Plaintiff alleges that the City

 continually changed the requirements for the septic system, which they previously

 approved, for discriminatory purposes. That claim exists independent of whether the

 City retains current jurisdiction over the alleged septic flow issue and is ripe for

 consideration.




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        B. The Complaint Sets Forth a Cognizable Claim under RLUIPA

        There are several issues attendant with the Court’s consideration of whether the

 Complaint sets forth a cognizable claim under RLUIPA. First, the Court finds that the

 City’s application of the sewage permit process qualifies as a “land use” regulation that

 “limits or restricts” GSIC’s functionality and use of its land within the meaning of

 RLUIPA, 42 U.S.C. §2000cc-5(5). Under RLUIPA, a “land use regulation” is “a zoning

 or landmarking law ... that limits or restricts a claimant's use or development of land

 (including a structure affixed to land), if the claimant has a ... property interest in the

 regulated land ...” Id. at § 2000cc–5(5). Thus, “a government agency implements a

 ‘land use regulation’ only when it acts pursuant to a ‘zoning or landmarking law’ that

 limits the manner in which a claimant may develop or use property in which the

 claimant has an interest.” Prater v. City of Burnside, 289 F.3d 417, 434 (6th Cir. 2002).

 Second Baptist Church of Leechburg v. Gilpin Twp., Pennsylvania, 118 F. App'x 615, 617

 (3d Cir. 2004).

        Much like the facts set forth in Cnty. of Culpeper, Va., ---F. Supp.3d---, No. 16-

 00083, 2017 WL 1169767, the present Complaint details that GSIC’s attempt to build a

 mosque in the City was met with procedural hurdles at every step. See Compl. at ¶ 17.

 Initially, the site plan was rejected by the City’s Planning Board causing GSIC to initiate

 a lawsuit seeking the reversal of the denial. Id., ¶ 18. The litigation settled and on

 January 12, 1022, the final major site plan was approved by the City. Id., ¶ 20. The site

 plan contemplated “a three-level, 61,540 square foot house of worship consisting of: a) a

 9,563.25 square foot basement level containing a bathroom, kitchen, mechanical room

 and storage space; b) a 30,304.45 square foot first floor level containing a men’s prayer

 hall, women’s prayer halls, multi-purpose hall, library, media rooms and various

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 meeting rooms and offices; and c) a 21,670.45 square foot second floor level containing

 multiple lecture rooms, offices, a library, meeting room and other miscellaneous space

 on the Property (the “2011 Site Plan Approval”).” Id., ¶ 20. The seating capacity of GSIC

 accommodated 220 persons. Id., ¶ 21.

        Before construction began, the parameters of the building were reduced by GSIC.

 GSIC sought and obtained an administrative site plan approval from the City which

 removed the basement level all together and reduced the square footage of the floor

 plans significantly. Id., ¶ 23. This new site plan (the “2012 Amended Site Plan

 Approval”), is the blueprint of the building that actually exists today and, unlike the

 65,140 square foot building approved in 2011, the current building is only 8,393 square

 feet. Id., ¶ 24.

        Against this backdrop, the Complaint alleges that the septic system issue was

 created out of whole cloth in an attempt to frustrate GSIC’s existence and functionality.

 The septic system permit the City issued as to the 2011 Site Plan was designed to

 accommodate a maximum sanitary sewage flow capacity of 3,000 gallons per day. Id., ¶

 25. GSIC alleges that the current building’s anticipated sewage flow is estimated to be

 approximately 1500 gallons per day; far less than that approved by the City in 2011. In

 late 2012, GSIC’s contractor received an approval letter from the City advising that the

 septic system was “inspected and approved” as per the land use codes and regulations.

 Id., ¶ 27.

        After the City issued the temporary certificate of occupancy, GSIC began, in early

 Spring 2016, the process of pursuing permits for an additional second floor level

 structure anticipated to have the same square footage of the existing building. Id., ¶¶ 28-

 29. The uses identified for the addition are alleged to be similar in usage to the 2011 Site

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 Plan and consisted of several rooms including locker and toilet rooms, but no showers.

 Id., ¶¶ 31-34. However, GSIC received a letter from the City regarding the septic system

 for the addition. The findings of the City appeared to be grounded upon a

 misunderstanding that the “original septic system was designed for a 500 seat

 mosque[]” and that the proposed locker rooms included showers. Id., ¶¶ 33-37. The

 existing structure remained at a capacity of 220 seats despite the proposed addition, not

 500 seats. The letter concludes by stating that the City “belie[ves] that the addition

 causes the original septic system design capacity to exceed that permitted and required

 GSIC obtain a “flow determination” from the New Jersey Department of Environmental

 Protection’s Bureau of Non-Point Pollution Control.” Id., ¶ 38.

               Because of this determination, GSIC is unable to obtain a final Certificate of

 Occupancy, despite many attempts to disprove the City’s flow determinations by

 providing evidence in the form of letters from industry professionals, common sense

 math applications, and blueprints showing that its septic system did not exceed 1,500

 gallons1 or exceed the use in the approved septic system for which the City issued a

 permit. Id., ¶¶ 40-43.

               GSIC and its contractors supplied proof that the building did not exceed the flow

 values which trigger State review. The City also engaged in meetings and conversations

 related to the issue but did not include anyone on behalf of GSIC and, in these

 occurrences, continued to mischaracterize significant facts related to the usage of the

 proposed space and the plans previously approved by the City in 2011. Id., ¶¶ 48-53.




                                                             
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      According to the Complaint, a flow of 2,ooo gallons triggers State review. 

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 GSIC’s project architect David Manders’ letter to Vineland City Health Department

 Director Dale Jones details the anomalies used by the City in its determination. In that

 e-mail, Mr. Manders states:

                “There is a misconception in these documents that needs to be
        remedied, and it is as follows:
                What exists at the site is a two-story building with a footprint of
        8,393.12 square feet. There is no basement. The first floor is finished and
        the applicant is seeking to finish the second floor. The numbers outlined in
        Gary Lugiano’s email of April 21, 2016 do not reflect at all what is built or
        what the applicant has sought building department approval for. The
        applicant is seeking approval to finish the second floor of this building
        only. If (and when) the applicant seeks to do additional construction,
        permits and approvals will need to be obtained. Our position is simple…to
        determine if the septic system that was installed previously is sufficient to
        allow for the finishing of the second floor in conformance with the
        documents prepared by our office. It is not the applicant’s desire to
        construct the 61,538.15 sf building noted in Gary’s email. While the
        approved site plan indicates a building of this magnitude, the applicant
        has not sought approval for permits to construct this building (which was
        projected to be accomplished in multiple phases and may or may not ever
        be built). The applicant fully realizes that any future applications for
        building additions will most likely require an upgrading of the current
        septic system. I would hope that this clarification finds its way to the NJ
                 Department of Environmental Protection so that a determination
        can be made based on the actual conditions that exist and are proposed.
        As always, please do not hesitate to contact me with any questions.

 Id., ¶ 57.

        Despite this letter, the City continued to challenge the flow calculations using

 erroneous information in support of its conclusion that State review was warranted.

 GSIC argues that the misinformation upon which the City based its findings, coupled

 with the “arbitrary” flow calculations the City ascribed to the building evidence

 discrimination in the form of a RLUIPA violation. GSIC contends it is being “held to

 higher standards for the septic system than was in the plans, previously approved by

 Vineland, simply to discriminate against them and prohibit their lawful expansion. GSIC

 argues that the misinformation upon which the City based its findings, coupled with the

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 “arbitrary” flow calculations the City ascribed to the building evidence discrimination in

 the form of a RLUIPA violation. Id., ¶¶ 53-56.

        By characterizing the flow calculations in a manner which compels State review,

 the City is forcing GSIC to incur additional expenses and engage in additional expenses

 associated with that process, delay the full enjoyment of GSIC, and to keep GSIC under

 its thumb. Id., ¶¶ 69. Likewise, if GSIC does not challenge the State on review, the costs

 associated with the installation and maintenance of a waste water treatment facility is a

 prohibitively expensive proposition which further serves to frustrate the GSIC’s utility.

 As a result, GCIS contends that the City’s tactics associated with the septic system

 permit process in the land use of GCIS’s property is discriminatory and burdensome and

 evidences an effort to deny GSIC the permits needed to grow their facility. Id., ¶¶ 70-87.

        Construing the language of RLUIPA broadly, because the sewage regulation at

 issue is incorporated by reference into the City’s Land Use Ordinance, it qualifies as a

 zoning law. §425-1 to -371. To hold otherwise would put form over function. As in Cnty.

 of Culpeper, VA., the permit here is granted as a matter of course and was previously

 approved for a building of greater capacity and function. The County of Culpeper’s

 denial of a routine permit left the district court with the impression that the denial was

 based on religious hostility. In reaching its conclusion that the permit in Culpeper fits

 within the ambit of RLUIPA as a zoning law, the district court highlighted “the text of

 RLUIPA, precedent from the Fourth Circuit and other courts, the structure of the

 County's own laws, and how the permit process was (allegedly) used here to restrict

 property that otherwise allowed religious uses as of right.” Cnty. of Culpeper, Virginia,

 245 F. Supp. 3d at 760.



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       The permit here is unlike the ordinance considered in Second Baptist Church of

 Leechburg v. Gilpin Twp., Pennsylvania, 118 F. App'x 615, 616 (3d Cir. 2004) where the

 Third Circuit held that ordinance at issue did not “fall within the RLUIPA definition of a

 “land use regulation” because the mandatory sewer tap was not enacted pursuant to a

 zoning or landmarking law.” There, Gilpin Township Ordinance No. 53, commonly

 referred to as a “mandatory tap-in ordinance[,]” required all principal buildings located

 within one hundred fifty feet of any sewer of the sewage system to connect to the sewage

 system. The Second Baptist Church sued under RLUIPA arguing that the mandatory

 tap in ordinance was a zoning law which impermissibly infringed on its right to exist.

 The Third Circuit rejected that argument on the basis that the Ordinance did not directly

 involve any zoning or landmarking considerations and, therefore, did not fall within

 RLUIPA even under broad terms. Second Baptist Church of Leechburg v. Gilpin Twp.,

 Pennsylvania, 118 F. App'x 615, 617 (3d Cir. 2004). Because the Ordinance was

 mandatory and not subject to zoning usages, the ordinance did not fall within RLUIPA’s

 broad protection.

       The Court finds unpersuasive the City’s application of Second Baptist Church of

 Leechburg, 118 F. App'x at 617 to the sewage permit. The permit at issue here is similar

 to that considered by Cnty. of Culpeper, VA. in form and application. The mandatory

 nature of, and the lack of zoning considerations commensurate with, the “tap in”

 ordinance of Second Baptist Church of Leechburg renders that decision inapplicable to

 the present case. The Court finds that the sewage permit issue is a zoning law subject to

 RLUIPA.

       On a motion to dismiss pursuant to Fed. R. 12 (b)(6), the Court accepts as true all

 of the allegations contained in a complaint which show an entitlement to relief. The

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 complaint sufficiently sets forth facts demonstrating that the Defendants application of

 the sewage permitting process places a “substantial burden” on the Plaintiffs’ in

 violation of RLUIPA. The City’s motion to dismiss is denied as to this claim.

          C. The Remaining Claims

          Defendants’ motion to dismiss the remaining constitutional claims is denied. The

 Equal Protection Clause of the Fourteenth Amendment demands that no State shall “deny

 to any person within its jurisdiction the equal protection of the laws[.]” City of Cleburne,

 Texas v. Cleburne Living Center, 473 U.S. 432, 439 (1985) (citing Plyler v. Doe, 457 U.S.

 202, 216 (1982); Artway v. Attorney General of New Jersey, 81 F.3d 1235, 1267 (3d Cir.

 1996).    The Equal Protection Clause prohibits “governmental decisionmakers from

 treating differently persons who are in all relevant respects alike.” Nordlinger v. Hahn,

 505 U.S. 1, 10 (1992). Put differently, the Clause ensures that persons similarly situated

 are treated alike. City of Cleburne, Texas, 473 U.S. at 439. The Complaint sufficiently sets

 forth facts which tend to show that GSIC was treated differently from other Christian

 buildings within the city limits. Comp. at ¶¶ 102-110. Giving all favorable inferences to

 Plaintiffs, there are sufficient facts plead demonstrating that the Defendants intended to

 discriminate. Village of Arlington Heights v. Metropolitan Housing Development Corp.,

 429 U.S. 252, 264–66 (1977); Washington v. Davis, 426 U.S. 229, 242, 244–45 (1976).

 Defendants’ motion to dismiss the Equal Protection Claim is denied.

          Defendants’ motion to dismiss Plaintiffs’ First Amendment Right to the Free

 Exercise of Religion claim is denied for the same reasons set forth with respect to the

 denial of the motion to dismiss Plaintiffs’ RLUIPA claim. RLUIPA provides “'greater

 protection' for religious liberty than is provided by the First Amendment.” Payne v. Doe,

 No. 15-2489, 2016 WL 123624, at *4 (3d Cir. Jan. 12, 2016). For the same reasons

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 underscoring the Court’s decision with respect to the RLUIPA claim, Defendants’ Motion

 to dismiss the First Amendment claim and the related claim under the New Jersey Law

 Against Discrimination, N.J.S.A. 10-5-3 is denied.

        Defendants’ motion to dismiss Plaintiffs’ due process claims and the unlawful

 taxation claim is denied. As construed in a light most favorable to Plaintiffs, the

 Complaint sets forth a cognizable claim under the Fourteenth Amendment for failure to

 provide notice and a hearing before Defendants revoked the permit and sets forth an

 adequate foundation for the improper assessment of taxes against a religious institution.

 The Complaint sufficiently sets forth facts, which if believed, demonstrate that the

 Defendants’ insistence that NJDEP review is necessary is a pretext for discrimination

 and a basis for Defendants’ to revoke the permit without providing a hearing.

        In addition, according to the Complaint, the assessment of taxes was levied for

 the year 2015 because the Township, without notice, deemed the structure

 “completed[,]” as defined by N.J.S.A. 54:4-63 et seq., because it was “substantially ready

 for the intended use for which a building or structure is constructed, improved or

 converted.” N.J.S.A. 54:4-63-1; Compl. ¶¶ 125-35. Plaintiffs argue that it applied for tax

 exempt status as a religious organization and that even if it had not, the Defendants

 were aware of the religious affiliation prior to assessing taxes. Id. In addition, the

 Plaintiffs claim that the paradox of Defendants’ position—namely that it deemed the

 structure “complete” for tax purposes but continued to withhold a final Certificate of

 Occupancy— coupled with the fact that GSIC was the only religious organization in the

 township required to apply for the religious exemption evidences discrimination. Id.

 Defendants’ motion to dismiss is denied.



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                                      IV.     Conclusion

       For the reasons stated above, Defendants’ motion to dismiss is denied. An

 appropriate Order shall issue.



                                        s/ Joseph H. Rodriguez
                                        Hon. Joseph H. Rodriguez,
                                        United States District Judge




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